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           IN THE UNITED STATES BANKRUPTCY COURT
                   SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION
IN RE:                             §
                                   §
Garden Oaks Maintenance Org., Inc, § CASE NO. 18-60018-H2-11
                                   §
     DEBTOR                        §

                          EMERGENCY MOTION
                     TO APPROVE OPERATING BUDGET

THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT
YOU. IF YOU OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY
CONTACT THE MOVING PARTY TO RESOLVE THE DISPUTE. IF YOU
AND THE MOVING PARTY CANNOT AGREE, YOU MUST FILE A
RESPONSE AND SEND A COPY TO THE MOVING PARTY. YOU MUST
FILE AND SERVE YOUR RESPONSE WITHIN 21 DAYS OF THE DATE
THIS WAS SERVED ON YOU. YOUR RESPONSE MUST STATE WHY THE
MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A TIMELY
RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT FURTHER
NOTICE TO YOU. IF YOU OPPOSE THE MOTION AND HAVE NOT
REACHED AN AGREEMENT, YOU MUST ATTEND THE HEARING.
UNLESS THE PARTIES AGREE OTHERWISE, THE COURT MAY
CONSIDER EVIDENCE AT THE HEARING AND MAY DECIDE THE
MOTION AT THE HEARING.

    REPRESENTED               PARTIES         SHOULD         ACT       THROUGH             THEIR
ATTORNEY.

EMERGENCY RELIEF HAS BEEN REQUESTED. IF THE COURT
CONSIDERS THE MOTION ON AN EMERGENCY BASIS, THEN YOU
WILL HAVE LESS THAN 21 DAYS TO ANSWER. IF YOU OBJECT TO
THE REQUESTED RELIEF OR IF YOU BELIEVE THAT THE
EMERGENCY CONSIDERATION IS NOT WARRANTED, YOU SHOULD
FILE AN IMMEDIATE RESPONSE.


                      REQUESTED DEADLINE FOR EMERGENCY RELIEF

   DEBTOR REQUESTS RELIEF ON OR BEFORE WEDNESDAY, MAY 23, 2018. IF A HEARING IS
   NECESSARY, IT IS ESTIMATED THAT THE HEARING WILL REQUIRE 15-30 MINUTES OF COURT TIME.
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      COMES NOW, Garden Oaks Maintenance Organization, Inc. (“Garden
Oaks”), Debtor, and Debtor-In-Possession, and files this Emergency Motion To
Approve Operating Budget and would respectfully show the Court a follows:
   1. The Debtor filed a voluntary chapter 11 petition on April 11, 2018.
   2. The Debtor is a Texas corporation, and operates as a Texas non-profit Home
      Owners Association that furthers the common interests of residents in the
      Garden Oaks subdivision of Houston Texas. The subdivision is located
      generally in the northwest portion of Houston, bordered by loop 610NW,
      Hwy 290, and Pinemont/W. Tidwell Rd. It is the third largest group of
      subdivisions in Harris County.
   3. The bankruptcy filing results from a recent state court judgment determining
      that certain aspects of the formation of the Property Owners Association was
      invalid pursuant to TEX. PROP. CODE § 201.005, as to two particular
      homeowners.
   4. The Debtor is managed and operated by officers and a board comprised of
      residents of the Garden Oaks subdivision.
   5. The Debtor operates at the convenience of the residents of the subdivision,
      and requests the Court to approve the attached operating budget after proper
      notice.
   6. There are no secured lenders, and there are no cash collateral issues.
   7. The operating budget consists of routine, normal and customary expense
      items, and the Debtor understands that continued business operations are not
      required to be specifically approved by the Court. However, as a non-profit
      service organization, the board has elected to provide notice of the operating
      budget, and requests specific authorization from the Court to operate
      pending the filing and approval of its Plan and Disclosure Statement.
   8. The attached budget may vary due to circumstances not now known, and it
      is provided as a guide.
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   9. The Debtor currently expects legal fees and services to be incurred for the
      re-formation of a new association, however, any attorney hired to provide
      those services will be specifically employed as special counsel to the Debtor
      in accordance with the Bankruptcy Code and Rules.
   10.The attached Budget estimates the cost of the re-formation legal expense to
      be approximately $10,000.00.
      WHEREFORE, Debtor requests this Court to approve the attached
operating budget, and for such other and further relief, at law or in equity, to which
it may be justly entitled.

Dated: May 17, 2018.
                                              Respectfully submitted,

                                              By: /s/ Johnie Patterson
                                              Johnie Patterson
                                              State ID# 15601700
                                              COUNSEL FOR THE DEBTOR
   OF COUNSEL:
   WALKER & PATTERSON, P.C.
   P.O. Box 61301
   Houston, TX 77208
   713.956.5577
   713.956.5570 (fax)

                             CERTIFICATE OF SERVICE

       I, Johnie Patterson, hereby certify that a true and correct copy of the
foregoing Motion was served upon the 20 largest unsecured creditors by first class,
United States Mail, postage prepaid, and upon all parties receiving notice through
the Courts CM/ECF electronic noticing system on May 17, 2018. No parties other
than the U.S. Trustee have filed a Request For Notice with the Court.

                                                /s/ Johnie Patterson
                                              Johnie Patterson
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Anticipated Monthly Expenditures
A. Gross Business Income
Average Monthly Income                         $17,026.58
             (Based On Prior 12 Months)


B. Estimated Average Future Monthly Expenses
Rent/Lease                                       $950.00
Utilities                                        $201.50     See Attached Detail
Supplies                                           $55.00    See Attached Detail
Professional & Services                         $5,060.00    See Attached Detail
Other Expens see Details
1/12 Annual Items                               $2,419.97    See Attached Detail

TOTAL                                           $8,686.47
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Detailed Annual expenses:
   Annual Meeting                                             costs are incurred in Aug-Oct
                        printing                     500.00
                        postage                      700.00
                        processing                   750.00
                        TOTAL                      1,950.00

   Community Engagement
                    printing                       2,000.00
                    postage                        2,800.00
                    processing                     3,000.00
                    TOTAL                          7,800.00

   Professional and Services Related to Reformation           costs incurred Apr-Oct
                        Office Mgr.                2,000.00
                        Book keeper                  300.00
                        Legal                     10,000.00
                        TOTAL                     12,300.00

   Insurance
                        Fid/Dishonesty                 0.00   paid up through April 2019
                        Office Insurance             925.00   cost incurred in June
                        Dir & Officers             1,155.00   cost incurred in June
                        TOTAL                      2,080.00

   Audit                                           2,400.00   cost are incurred in July

   Taxes
                        Federal Tax                    0.00
                        Federal Tax Preparation    1,762.00   costs are incurred in March
                        Harris County Property       200.65   costs are incurred in November
                        TOTAL                      1,962.65

   Website
                        security                    165.00    Cost incurred in July shared with GOCC
                        plugins                     100.00    Cost incurred in June for Calendar and Members
                        hosting                       0.00    paid up through July 2019
                        TOTAL                       265.00

   Ooma Phone messaging                             140.00    cost incurred in June

   Professional Membership                          142.00    cost incurred in December

   Annual Items Total                             29,039.65                                12 month     29,039.65

   Monthly Equiv                                   2,419.97                                              2,419.97

   TOTAL                                                                                   12 month     29,039.65
